               IN THE UNITED STATES DISTRICT COURT
           FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        ASHEVILLE DIVISION
                       1:24-cv-00237-MR-WCM

JAIMIE ISIAH BROWN and            )
JESSICA BROWN,                    )
                                  )
           Plaintiffs,            )
                                  )                     ORDER
      v.                          )
                                  )
THE UNITED STATES OF              )
AMERICA and EVA L.                )
MORGENSTERN, M.D.,                )
                                  )
           Defendants.            )
_________________________________ )

        This matter is before the Court on the United States’ Unopposed Motion

to Substitute (the “Motion to Substitute,” Doc. 5) and Unopposed Motion for

Extension of Time to Answer or Otherwise Respond to the Complaint (the

“Motion to Extend,” Doc. 7).

   I.      Relevant Background

        On September 12, 2024, Plaintiffs filed a Complaint against the United

States of America and Eva L. Morgenstern, M.D. asserting claims for medical

malpractice and “corporate/administrative negligence” pursuant to the Federal

Tort Claims Act, 28 U.S.C. § 2671 et seq.. Doc. 1.

        On October 28, 2024, the United States filed the Motion to Substitute, a

supporting memorandum, and the Motion to Extend. Docs. 5, 6, 7. Attached to


                                        1

    Case 1:24-cv-00237-MR-WCM       Document 8    Filed 11/01/24   Page 1 of 3
the supporting memorandum is a “Certification of Scope of Employment” from

the United States Attorney for this district which states that “with respect to

the events alleged in the Complaint, which allegations are denied for purposes

of assessing liability, Defendant Eva L. Morgenstern, M.D., an employee of the

United States Department of Veteran Affairs, was at all relevant times acting

within the course and scope of her federal employment.” (the “Certification,”

Doc. 6-1).

         Both the Motion to Substitute and the Motion to Extend are unopposed.

   II.     Discussion

         Generally, when a plaintiff brings a civil action against a federal

employee in a United States district court, if the Attorney General certifies

that the employee was acting within the scope of his or her employment at the

time of the incident out of which the claim arose, the action is deemed to be

one brought against the United States, and the United States is substituted as

the party defendant. 28 U.S.C. § 2679(d)(1); see also McAdoo v. United States,

No. 1:14CV239, 2015 WL 4757266, at *4 (W.D.N.C. July 8, 2015), report and

recommendation adopted, No. 1:14-CV-00239-MOC, 2015 WL 4757284

(W.D.N.C. Aug. 12, 2015). The United States Attorneys are authorized by

regulation to issue such certifications on behalf of the Attorney General.

Gutierrez de Martinez v. Drug Enf't Admin., 111 F.3d 1148, 1152 (4th Cir.

1997) (citing 28 C.F.R. § 15.3(a) (1996)); see also Jamison v. Wiley, 14 F.3d 222,

                                        2

    Case 1:24-cv-00237-MR-WCM       Document 8    Filed 11/01/24   Page 2 of 3
227 at n. 3 (4th Cir. 1994).

      Here, Plaintiffs have not contested the Certification and do not oppose

the Motion to Substitute. See Maron v. United States, 126 F.3d 317, 323 (4th

Cir. 1997) (“the certification satisfies the government’s prima facie burden….”);

see also Gutierrez de Martinez, 111 F.3d at 1153 (“The Attorney General's

certification is conclusive unless challenged.”).

      Therefore, the Motion to Substitute will be allowed.

      Additionally, for the reasons set forth in the Motion to Extend, the

United States will be provided additional time to respond to the Complaint.

      IT IS THEREFORE ORDERED THAT:

   1. The United States’ Unopposed Motion to Substitute (Doc. 5) is

      GRANTED, and the United States is SUBSTITUTED in the place of Eva

      L. Morgenstern, M.D.

   2. The United States’ Unopposed Motion for Extension of Time to Answer

      or Otherwise Respond to Plaintiff’s Complaint (Doc. 7) is GRANTED,

      and the deadline for the United States to file an answer or otherwise

      respond to Plaintiff’s Complaint is EXTENDED through and including
                                    Signed: October 31, 2024
      December 13, 2024.




                                         3

    Case 1:24-cv-00237-MR-WCM       Document 8        Filed 11/01/24   Page 3 of 3
